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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 DANIEL TRIPO
                                                      Civil Action Number
                         Plaintiff(s)                 3:11-CV-02050-MAS-DEA

                  vs.
                                                    STIPULATION OF DISMISSAL
 ROBERT WOOD JOHNSON MEDICAL
 CENTER, SYLVIANA BARSOUM,
 M.D., RENU CHHOKRA, M.D., and
 ARLEEN LAMBA, M.D.

                         Defendant(s)




               IT IS HEREBY STIPULATED AND AGREED, by and between the

 undersigned,     the    attorneys     of    record    for    the     parties      to   the

 above    entitled      action,     that    the   above      action    of    plaintiff,

 DANIEL TRIPO,     against defendant,         ROBERT WOOD JOHNSON UNIVERSITY

 HOSPITAL s/h/a ROBERT WOOD JOHNSON MEDICAL CENTER,                     and the same

 hereby   is   dismissed,       with prejudice,       and without       costs      to   any

 party    as   against    the     other.     This     stipulation      may    be    filed

 without further notice with the Clerk of the Court.

 Dated: August 6, 2013




 Amabile & Erman, P.C.                       ~~s~~' Kelly & Strollo, P.A.
 By: Anthony A. Lenza, Jr., Esq.             ~ Lauren M. Strollo, Esq.
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